                    Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 1 of 7

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                                                                                    No.     14-413C

                                                                    (Filed: December 12, 2014)                              FILED
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                                                                                                                        FEDERAL CI-AIMS
RICHARD COLEMAN,

                                            Plaintiff,



UNITED STATES,

                                            Defendant.

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             Richard Coleman, pro se, Elizabeth City, North Carolina.l

             Joseph E. Ashman, Trial Attomey, Commercial Litigation Branch,                                          Civil Division, United
States Department of Justice, Washington, D.C.,  for defendant. With him on the briefs were
Stuart F. Delery, Assistant Attomey General,  Civil Division, Robert E Kirschman, Jr., Director,
and Steven J. Gillingham, Assistant Director, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washinglon, D.C.


                                                                          OPINION AND ORDER

LETTOW, Judge.

        Plaintiff, Richard Coleman, alleges numerous constitutional and statutory violations by
the government and by individual government actors, including violations ofthe Fifth
Amendment, the Fourteenth Amendment, and 42 U.S.C. $ 1983. See Compl. at 1, 7. Pending
before the court is the govemment's motion to dismiss for lack of subject matter jurisdiction
pursuant to Rule 12(b)(1) ofthe Rules ofthe Court of Federal Claims C'RCFC') and for failure
to state a claim upon which relief can be granted pursuant to RCFC 12(bX6). .See Def.'s Mot. to
Dismiss ("Dei's Mot.") at l, ECF No. 7. Also pending before the court is Mr. Coleman's
motion to amend his complaint. Pl.'s Motion to Amend Pleadings, ECF No. 10.

        rMr. Coleman's residence is not precisely specified. In his complaint, he states that his
permanent residence is in Pasquotank County, North Carolina, but he also claims to "reside and
do business in the []District of Columbia at the time of filing his complaint'" Compl. at 2'
         Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 2 of 7




                                        BACKGROUND

         In early 2013, Mr. Coleman filed a complaint in the United States District Court for the
District of Columbia against his ex-wife and the mother of his child for "specific [tortious] acts
of slander, libel, defamation ofcharacter, and alienation ofaffection." Compl. at3-7; see
Colemanv. Silver,939 F. Supp.2d27,28 (D.D.C.2013). On April 17,2013, the district court
dismissed Mr. Coleman's complaint for failure to establish personal jurisdiction over the
defendant. Coleman,939 F. Supp.2d,at29. Mr. Coleman subsequently filed suit in this court on
April 14, 2014, avening that Judge Ellen Segal Huvelle, the presidingjudge in the district court
case, committed acts ofjudicial misconduct and deprived him ofthe right to due process and
equal protection guaranteed by the Fifth and Fourteenth Amendments when she dismissed his
case. Specifically, Mr. Coleman alleges that the judge's opinion "willfully and prejudicially
misrepresented the facts, resulting in manifest injustice" because it described his complaint as
"sparse on concrete facts," Compl. at 5 (referring to Coleman,939 F. Supp. 2d at28), and erred
in its analysis of the court's personal jurisdiction over the defendant, id. at 5. Additionally,
Mr. Coleman accuses the judge of "giving the appearance of partiality for the female
[d]efendant," id, and discriminating against him, presumably on the basis of his sex, id. at7.z

       Mr. Coleman also alleges that inappropriate actions prejudicing him were taken by Judge
Kenneth McHugh, a former judge on the New Hampshire Superior Court, justices serving on the
New Hampshire Supreme Court, and the "'gate-keeper' [c]lerk of the [United States] Supreme
Court." Compl. at 8-I L He specifically alleges that Judge McHugh acted "unofficially" and
engaged in "extra-judicious meddling" in violation of N.H. Rev. Stat. Ann. $ 491:8 when he
incorrectly granted summary judgment to-the defendant in a case brought by Mr. Coleman in
New Hampshire Superior Court. Id. at 9.r Mr. Coleman additionally claims that the justices of

       'Mr. Coleman   also accuses Judge Huvelle of "denying [him] his day in [c]ourt" by
dismissing his claims against judges of the New Hampshire Superior Court and New Hampshire
Supreme Court. Compl. at 13-14.

       3Mr.
              Cole-an does not specify the name or subject matter of the   case that was dismissed
in New Hampshire. The New Hampshire statute he cites provides in pertinent part:

       The superior court shall have jurisdiction to enter judgment against the state of
       New Hampshire founded upon any express or implied contract with the state. Any
       action brought under this section shall be instituted by bill of complaint and shall
       be tried by the court without ajury. Thejurisdiction conferred upon the superior
       court by this section includes any set-off, claim or demand whatever on the part of
       the state against any plaintiff commencing an action under this section. The
       attomey general, upon the presentation of a claim founded upon ajudgment
       against the state, shall submit the claim to the department or agency which entered
       into the contract, and said department or agency shall manifest said claim for
       payment from the appropriation under which the contract was entered into;
       provided, that ifthere is not sufficient balance in said appropriation, the attorney
       general shall present said claim to the general court for the requisite
       appropriation.
         Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 3 of 7




the New Hampshire Supreme Court        willfully violated N. H. Rev.   Stat. Ann. $ 491 :8 and
deprived him ofhis Fourteenth Amendment right to equal protection by affirming the superior
courtjudge's decision. Id.atI0. Finally, Mr. Coleman accuses the clerk of the United States
Supreme Court of abusing his authority by inconectly informing him of the time of tolling for
his case and placing his petition for a rehearing pursuant to United States Supreme Court Rule 44
in "legal limbo" in violation of his constitutional rights to due process and equal protection. 1d
at 11.

        Mr. Coleman avers that each of the individuals named in his complaint has waived his or
her right to judicial immunity by "act[ing] under the color of the law" to deny him his
constitutional rights. Compl. at 12. Finally, he alleges that the namedjudges and clerk engaged
in a civil conspiracy to deprive him of these rights. 1d

       In terms of reliei Mr. Coleman demands damages amounting to "$25,000 for each of the
seven counts in his Complaint and for the 30 years he [has] been injured." Compl. at 8.

                                STANDAR-DS FOR DECISION

                                  A.   Subject Matter Jurisdiction

        Mr. Coleman premises this court's jurisdiction on the Tucker Act, 28 U.S.C. $ 1491. See
Pl.'s O[pposition] to Def.'s Mot. to Dismiss ("P1.'s Opp'n"), ECF No. 9. The Tucker Act grants
this court 'lurisdiction to renderjudgment upon any claim against the United States founded
either upon the Constitution, or any Act ofCongress or any regulation ofan executive
department, or upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in tort." 28 U.S.C. $ 1a91(a)(1). The Act waives
sovereign immunity, allowing a claimant to sue the United States for monetary damages. United
States v. Mitchell,463 U.S. 206,212 (1983). The Tucker Act itself, however, does not provide a
substantive right to monetary relief against the United States. United States v. Testan,424 U.S.
392,398 (1976); see also Martinez v. United States,333 F.3d 1295, 1321 (Fed. Cir. 2003) (en
banc). "A substantive right must be found in some other source of law." Mitchell,463 U.S. at
216. To fulfill the jurisdictional requirements of the Tucker Act, the plaintiff must establish an
independent right to monetary damages by identifying a substantive source oflaw that mandates
payment from the United States for the injury suffered. Testan,424 U.S. at 400; see also
Ferreiro v. United States,501 F.3d 1349,1351-52 (Fed. Cir. 2007) (quoting Fisher v. United
Stotes, 402 F.3d I 167, I I 72 (Fed. Cir. 2005) (en banc in relevant part)).

        The "court must satisfr itselfthat it has jurisdiction to hear and decide a case before
proceeding to the merits." Hardie v. United States,367 F ,3d 1288, 1290 (Fed. Cir. 2004)
(quoting PIN/NIP, Inc. v. Platte Chem. Co.,304 F.3d 1235,1241 (Fed. Cir. 2002)) (intemal
quotation marks omitted). When assessing a motion to dismiss under Rule 12(b)(1) for lack of
subject matter jurisdiction, the court will "normally consider the facts alleged in the complaint to
be true and correct." Reynolds v. Army &Air Force Exch. Serv.,846 F.2d746,747 (Fed. Cir.
1988) (citing Sc&euer v. Rhodes,4l6 U.S. 232,236 Q97\). The plaintiffbears the burden of
         Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 4 of 7




"allegfing] in his pleading the facts essential to show [subject matter] jurisdiction" by a
preponderance ofthe evidence. McNutt v. General Motors Acceptance Corp. of |nd.,298 U.S.
I 78, I 89 (193 6); se e als o Reyno lds, 846 F .2d at 7 48.


        In general, the court holds pleadings filed bypro se plaintiffs to "'less stringent standards
thanformalpleadingsdraftedbylawyers."'Estellev.Gamble,429U.S.97,106(1976)(quoting
Haines v. Kerner,404 U.S. 519, 520 (1972) (per curiam)). "This latitude, however, does not
relieve apro se plaintiff from meeting jurisdictional requirements." Bernard v. United States,59
Fed. Cl..497,499 (2004),aff'd,98 Fed. Appx. 860 (Fed. Cir.2004); see also Henke v. United
States,60 F.3d 795, 799 (Fed. Cir. 1995). Therefore, Mr. Coleman nonetheless "bears the
burden of establishing the [c]ourt's jurisdiction by a preponderance of the evidence. Ri/es v.
United Stdtes,93 Fed. Cl. 163, 165 (2010) (citing Taylor v. UnitedStates,303 F.3d 1357,1359
(Fed. Cir. 2002)).

                                     B. Failure to State a Claim
         To survive a motion to dismiss for failure to state a claim, the complaint must "contain
sufficient factual matter, accepted as true, to 'state a claim to reliefthat is plausible on its face."'
Ashcroft v. Iqbal,556 U.S. 662,678 (2009) (quoting Bell Atl. Corp. v. Twombly,550 U.S. 544,
570 (200'7)). A claim is facially plausible "when the plaintiffpleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged." Id. al678 (citing Twombly, 550 U.S. at 556). In addition, the facts alleged must
"'plausibly suggest[] (not merely [be] consistent with)' a showing of entitlement to relief." Cary
v. United States,552 F.3d 1373,1376 (Fed. Cir. 2009) (quoting Twonbly,550 U.S. at 557).
While the complaint "does not need detailed factual allegations," Twombly,550 U.S. at 545, it
must present more than "'naked assertion[s] devoid of'further factual enhancement,"' Iqbal,556
U.S. at 678 (citing Twombly, 550 U.S. at 557) (alteration in original), or "the-defendant-
unlawfully-harmed-me-accusation[s]," ld. (citing Twombly, 550 U.S. at 555). In determining
whether the plaintilfhas pled adequate facts to allow the court to infer that his or her entitlement
to relief is plausible-not merely possible-the court must "draw on its judicial experience and
common sense," Iqbal,556 U.S. at 679, and "must accept as true the complaint's undisputed
factual allegations and should construe them in a light most favorable to the plaintiff,"
Cambridge v. United States,558 F.3d 1331, 1335 (Fed. Cir. 2009) (citing Papasan v. Allain,478
U.S.265,283 (1986); Gould, Inc. v. UnitedStates,935 F.2d t271,1274 (Fed. Cir. 1991)).

                                             ANALYSIS

                                   A.   Subject Matter Jurisdiction

        As a preliminary matter, Mr. Coleman may not bring claims against Judge Huvelle, Judge
McHugh, justices of the New Hampshire Supreme Court, or the clerk of the United States
Supreme Court as individual defendants before this court. This court does not have jwisdiction
to hear claims against judges or clerks of the court. The "only proper defendant for any matter
before this court is the United States, not its officers nor any other individual." Stephenson v.
United States,58 Fed. Cl. 186, 190 (2003) (emphasis in original) (citing United States v.
Sherwood,3l2 U.S.584,588 (1941)). Mr. Coleman avers that Judge Huvelle, Judge McHugh,
         Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 5 of 7




and justices of the New Hampshire Supreme Court waived their       judicial immunity under 1983
U.S.C. $ 42 by acting "extra-judiciously, under the color of law, so as to deny [him ofl his [Fifth]
and [Fourteenth] Amendment right to due process and his [Fourteenth] Amendment [guarantee
ofj equal protection under the laws." Compl. at 7 , 9, 11 .' However, 42 U. S.C. $ I 983 does not
confer jurisdiction on this court to hear claims against individuals. See generally McCauley v.
 United States,38 Fed. Cl. 250,265 (1997) C'lt is well settled that this court does not have
jurisdiction over civil rights claims brought under Title VII ofthe Civil Rights Act of 1964 or 42
 u.s.c. $ 1e83.').
          In addition, Mr. Coleman alleges constitutional violations that this court has no
jurisdictional power to address. "Although this court may exercise jurisdiction over claims
 'founded . . . upon the Constitution,' the scope ofthis cou('s jurisdiction over constitutional
claims is limited to claims arising under provisions of the Constitution that mandate the payment
of money." Miller v. United Sates,67 Fed. Cl. 195, 199 (2005) (citing 28 U.S.C. $ 1491(a)(l)).
 Mr. Coleman's asserted violations of the Due Process Clauses in the Fifth and Fourteenth
 Amendments and the Equal Protection Clause of the Fourteenth Amendment are not by
themselves money-mandating. See LeBlancv. United Ststes,50 F.3d 1025, 1028 (Fed. Cir.
  1995); see also James v. Caldera, I 59 F.3d 5 73, 58 I (Fed. Cir. I 998) ("[T]he Court of Federal
 Claims lacks jurisdiction over [Due Process Clause claims] because [the Due Process Clause] . . .
 is [not] a money-mandating provision."); lltagstaffv. United States,105 Fed. C|.99,109 (2012),
aff'd, _Fed Appx. _, 2014 WL 6892075 (Fed. Cir. Dec.9,2014). Therefore, the court lacks
jurisdiction to adjudicate Mr. Coleman's constitutional claims.

        Finally, Mr. Coleman raises a contract claim as a basis for jurisdiction, arguing that when
he "paid for the service of the [flederal [c]ourt for the District of Columbia, a quid pro quo
relationship existed between [him] and the United States in which, in return for [his] payment of
fees, the United States promised [him] a fair and impartial [flederal [c]ourt." Pl.'s Opp'n at 3.
He alleges that the district court's failure to provide him with a "fair and impartial judiciary"
effectively constituted a breach of contract, entitling him to monetary relief. 1d As the
government correctly notes in its reply in support of its motion to dismiss, Mr. Coleman's claim


        "42 U.S.C. g 1983 provides as follows:

       Every person who, under color ofany statute, ordinance, regulation, custom, or
       usage, ofany State or Tenitory or the District of Columbia, subjects, or causes to
       be subjected, any citizen ofthe United States or other person within the
       jurisdiction thereofto the deprivation ofany rights, privileges, or immunities
        secured by the Constitution and laws, shall be liable to the party injured in an
       action at law, suit in equity, or other proper proceeding for redress, except that in
       any action brought against ajudicial officer for an act or omission taken in such
       officer's judicial capacity, injunctive relief shall not be granted unless a
       declaratory decree was violated or declaratory relief was unavailable. For the
       purposes of this section, any Act of Congress applicable exclusively to the
        District of Columbia shall be considered to be a statute of the District of
        Columbia.

42 U.S.C. A 1983.
            Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 6 of 7




is meritless because, as a matter of law, the mere payment of a filing fee and other litigation-
related expenses does not create a contract between a plaintiff and the United States. Def.'s
Reply in Support of Mot. to Dismiss and Opp'n to Pl.'s Mot. to Amend the Compl. ("Del's
Reply"), ECF No. 7l; see Garrett v. united States,78 Fed. Cl. 668, 671 (2007) (noting that there
is no authority supporting plaintiff s proposition that filing a complaint alone constitutes the
making ofa contract with the United States); see also Stamps. v. United States,73 Fed. Cl. 603,
610 (2006) (finding that the court lacked jurisdiction to hear plaintiff s claim alleging breach of
an implied-in-fact contract with a district courtjudge, stemming from thejudge's acceptance of
the filing of a complaint informa paupens). Therefore, Mr. Coleman's contract claim does not
confer jurisdiction on this court to hear his case.

          In sum, the court does not have jurisdiction over Mr. Coleman's claims.

                                     B. Failure to State a Clarm

          The government argues that in the altemative Mr. Coleman's complaint should be
dismissed pursuant to RCFC 12(b)(6) for failure to state a claim upon which relief can be
granted. Def.'s Mot. at   l.  Mr. Coleman's complaint fails to make a facially plausible showing
of wrongdoing by     the United States. With regard to claims against Judge Huvelle, Mr. Coleman
concludes that the judge acted with partiality based on blanket allegations that she "knew, or
 should have known" that his underlying action in tort had merit and the court had personal
jurisdiction over the defendant though the District of Columbia's long-arm statute. ^See Compl.
 at 5-?. Mr. Coleman offers no support for his allegations of partiality or discrimination by
 Judge Huvelle. See generally Compl. at 7. Similarly, Mr. Coleman accuses Judge McHugh of
 acting "unofficially" because he "knew, or should have known, he had acted contrary to [Rev.
 Stat. Ann. $ 491 :81" and concludes that two justices of the New Hampshire Supreme Court acted
 with "extra-judicial indiscretion" merely because they affirmed Judge McHugh's decision
 Compl. at 9, 10. Finally, Mr. Coleman accuses t}re clerk for the United States Supreme Court of
 ,,,activist, meddling" solely because his Motion for Reconsideration was denied. compl. at 11.
 Mr. Coleman's allegations amount to "the-defendant-unlaufirlly-harmed-me-accusationIs]"
 Iqbat, 556 U.S. at 678 (citing Twombly, 550 u.s. at 555), and establish an insufficient basis for
relief.

          In conclusion, Mr. Coleman fails to state a claim upon which relief can be granted.


                                           CONCLUSION

         For the reasons stated, the govemment's motion to dismiss is GRANTED, and
Mr. Coleman's complaint is dismissed pwsuant to RCFC 12(bX1) for lack of subject matter
jurisdiction. Even if the court were to have jurisdiction, Mr. Coleman's complaint would be
unavailing for failure to state a claim upon which relief can be granted. Mr. Coleman's motion
to amendihe pleadings is DENIED because the proffered amendment does nothing to ameliorate
the jurisdictional defects in the original complaint. The clerk shall enter judgment in accord with
 this disposition.
 Case 1:14-cv-00413-CFL Document 13 Filed 12/12/14 Page 7 of 7




No costs.

It is so ORDERED.


                                Judge
